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                IN THE UNITED STATES DISTRICT COURT FOR
                             EASTERN DISTRICT OF VIRGINIA


                                     Alexandria Division
                                                                                CIERKU.S


UNITED STATES OF AMERICA                          Criminal No. 1:19-CR-59


                                                  Count 1:18 U.S.C. § 793(c)
                                                          Obtaining National Defense
DANIEL EVERETTE HALE,                                      Information


                             Defendant.           Count 2: 18 U.S.C. § 793(e)
                                                           Retention and Transmission
                                                           of National Defense Information


                                                  Count 3: 18 U.S.C. § 793(e)
                                                           Causing the Communication of
                                                           National Defense Information


                                                  Count 4: 18 U.S.C. § 798(a)(3)
                                                           Disclosure of Classified
                                                           Communications Intelligence
                                                           Information


                                                  Counts: 18 U.S.C. §641
                                                         Theft of Government Property


                              SUPERSEDING INDICTMENT


                              May 2019 Term - At Alexandria

        THE GRAND JURY CHARGES THAT:

                                GENERAL ALLEGATIONS


A.      The Defendant and His Access to Classifted National Defense Information


        1.    Defendant DANIEL EVERETTE HALE,age 31, is a resident of Nashville,

Tennessee.


        2.    From July 2009 through in or about July 2013,HALE was enlisted in the United

States Air Force, where after receiving language and intelligence training, he became a Language
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Analyst. While serving on active duty, HALE was assigned to work at the National Security

Agency(NSA)from December 2011 to May 2013. HALE deployed in support ofa Department

of Defense Joint Special Operations Task Force from March 2012 to August 2012, at Bagram

Airfield, Afghanistan, working for most ofthat time as an Intelligence Analyst responsible for

identifying, tracking, and targeting threat networks and targets. In connection with his active

duty service and work for NSA,HALE held a TOP SECRET//SENSITIVE

COMPARTMENTED INFORMATION (TS//SCI) security clearance, and had access to

classified national defense information.

       3.      From December 2013 until August 2014, HALE was employed by a defense

contractor known as Leidos. While working for Leidos, HALE was assigned to the National

Geospatial-Intelligence Agency(NGA),in Springfield, Virginia, where he worked as a Political

Geography Analyst. HALE was required to receive and maintain a TOP SECRET//SCI security

clearance in order to work at NGA.

       4.      Over his many years holding a security clearance, HALE received training

regarding classified information, including the definitions of classified information, the levels of

classification, and SCI, as well as the proper handling, marking,transportation, and storage of

classified materials. HALE received training on his duty to protect classified materials from

unauthorized disclosure, which included complying with handling, transportation, and storage

requirements. HALE knew that unauthorized removal and retention of classified materials and

transportation and storage ofthose materials in unauthorized locations risked disclosure and

transmission ofthose materials, and therefore could cause injury to the United States or be used

to the advantage ofaforeign nation. In particular, HALE had been advised that the unauthorized

disclosure of TOP SECRET information reasonably could be expected to cause exceptionally
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grave damage to the national security ofthe United States, and unauthorized disclosure of

SECRET information reasonably could be expected to cause serious damage to the national

security ofthe United States, and that violation of the rules governing the handling of classified

information could result in criminal prosecution.

        5.     HALE's work at NGA required the use of classified government computer

systems and networks that provided access to classified national defense information. HALE

was notified that these computers were monitored for "personnel misconduct(PM),law

enforcement(LE), and counterintelligence(CI)investigations" by a banner that HALE had to

acknowledge by clicking on the"OK" button every time he logged on to his computer.

        6.     Because HALE held a security clearance and was assigned to NGA as a cleared

defense contractor, the United States government entrusted HALE with access to closely held

classified national defense information.

B.      Background on Classified Information

        7.     Classified information is defined by Executive Order 13526, 75 Fed. Reg. 707

(Jan. 5,2010)as information in any form that(1)is owned by, produced by or for, or under the

control ofthe United States government;(2)falls within one of more ofthe categories of

information set forth in the order; and(3)is classified by an original classification authority who

determines that its unauthorized disclosure reasonably could be expected to result in damage to

the national security that the original classification authority can identify and describe.

        8.     Under Executive Order 13526,the designation SECRET(S)shall be applied to

information, the unauthorized disclosure of which could reasonably be expected to cause serious

damage to the national security. The designation TOP SECRET(TS)shall be applied to

information, the unauthorized disclosure of which could reasonably be expected to cause
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exceptionally grave damage to national security. NOFORN stands for"No Foreign

Dissemination" and denotes that dissemination ofthat information is limited to United States

persons. ORCON stands for "Originator Controlled," which denotes that the information should

not be further disseminated to any third party without the concurrence ofthe original

classification authority.

       9.        Executive Order No. 13526 also provides that specified officials may create

special access programs upon a finding that the vulnerability of, or threat to, specific information

is exceptional, and the normal criteria for determining eligibility for access applicable to

information classified at the same level are not sufficient to protect the information from

unauthorized disclosure. Special access programs pertaining to intelligence sources, methods, or

analytical processes are called SCI programs. One such SCI control system is SI information,

which refers to "Special Intelligence." SI protects information relating to technical and

intelligence information derived from the monitoring offoreign communication signals by

someone other than the intended recipients. The term COMINT describes communications

intelligence.

        10.      Pursuant to Executive Order No. 13526, classified information can generally only

be disclosed to those persons who have been granted an appropriate level United States

government security clearance and who possess a valid need to know to perform a lawful and

authorized government function. Additionally, classified information only may be processed and

retained in and on facilities approved for processing and storage at the appropriate classification

level. Classified information may not be removed from official premises without proper

authorization.
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C.      HALE's Communications with an Online News Outlet


        11.    In April 2013,HALE used his unclassified NSA work computer to search the

internet for information on a reporter (the Reporter). Among the results of his search was

information pertaining to a scheduled appearance ofthe Reporter on or about April 29,2013 at a

Washington, D.C. restaurant/bookstore (Bookstore).

        12.    On or about April 29,2013,HALE attended a book tour event at the Bookstore,

where he met with the Reporter. The next day, on or about April 30, 2013, HALE used his TOP

SECRET NSA computer to search for classified information concerning individuals and issues

about which the Reporter wrote.

        13.   In May 2013, HALE sent a text to a close friend and confidant(Confidant) stating

"[the Reporter] wants me to tell my story about working with drones at the opening screening of

his documentary about the war and the use of drones."

        14.    On or about June 8, 2013, HALE sat next to the Reporter at a public event at the

Bookstore to promote the Reporter's book(Book 1). After the event, HALE texted a friend that

he was then with the Reporter and headed to a restaurant.

        15.    On or about June 9, 2013,the Reporter sent HALE an email with a link to an

article about Edward Snowden in an online publication. That same day. Hale texted a friend that

the previous night he had been hanging out with journalists who were focused on his story. Hale

wrote that the evening's events might provide him with "life long connections with people who

publish work like this."

        16.    On or about July 14, 2013, HALE called the Reporter. Three days later, the

Reporter sent HALE an email with the subject line,"did you try calling me?" The body ofthe

email consisted of"I'm around." A few hours later, HALE called the Reporter again.
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        17.    On or about July 19, 2013, HALE sent a text message to the Confidant stating that

he was going to New York to meet with the Reporter and two other journalists. The next day,

the same day HALE separated from the Air Force, HALE sent an email to the Reporter stating he

would take a train to New York City the following week. HALE told the Reporter he would text

him when he arrived so they could determine where to meet. Later the same day, HALE emailed

the Reporter about watching a "plug" about the Reporter's book on television. Attached to the

email was a link to a news article entitled,"Court rules journalists can't keep their sources

secret," about the Fourth Circuit Court of Appeals ruling that a"New York Times

journalist... must testify in the trial ofa former Central Intelligence Agency officer accused of

leaking classified national defense information to the media."

        18.    On or about July 23 and 24,2013, HALE was in New York City.

        19.    On or about July 25, 2013, HALE sent the Reporter an email with a copy of his

resume attached and subject line,"Hale - unclass resume." The resume stated that HALE was

looking for positions "within the Intelligence Community ...[and was][ejspecially interested in

Counter Terrorism, Counter Intelligence, Electronic Warfare, or stand up and maintenance of

SIGINT oriented missions." HALE listed his "Active TS/SCI clearance & counter intelligence

(CI) polygraph" and "4 years active duty Air Force" where he "[pjrocessed numerous documents

critical to National Defense." As part of his duties as an Intelligence Analyst, HALE highlighted

his experience operating "payloads on remotely piloted vehicles(RPV)used to support real-time

kill/capture operations- over 1540 hours, over 200 specific mission" and his experience as a

"[b]ack-up Intelligence De-confliction Officer for Operation Enduring Freedom's(OEF)

intelligence, surveillance and reconnaissance(ISR)platforms-80 hours, monitored 750 on-
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going missions." Finally, HALE listed his experience working with original classification

authorities to declassify information to be used against detainees in trial.

        20.    On or about August 18,2013,the Reporter called HALE. The call lasted

approximately 35 minutes.

        21.    On or about September 20,2013,the Reporter asked HALE to "|j]ust set up a

[Jabber] account[so] we can chat on encrypted." Jabber is a free instant messaging program that

uses encryption to protect the content ofthe messages.

        22.    In November 2013, HALE texted the Reporter to ask whether he would "be in

D.C. this weekend for the anti drone summit."

        23.    Between in and about September 20,2013, and February 27,2014, HALE and the

Reporter had at least three encrypted conversations via Jabber.

D.      HALE Prints Multiple Classified Documents Unrelated to His Assigned Work at
        NGA That Are Published by the Reporter's News Outlet

        24.    On or about February 27, 2014, HALE sent a text message to the Reporter asking,

"Are you able to get on chat?"

        25.    On or about February 28, 2014, HALE used a classified work computer assigned

to him by NGA to print five documents marked as SECRET and one document marked as TOP

SECRET, which were unrelated to his work at NGA.

        26.    Approximately four hours after printing the six documents, HALE and the

Reporter had the following conversation via text message:

               HALE: Can you be here Monday?

               The Reporter: Where?

               The Reporter: I am out in LA for oscars. Back Tuesday.

               HALE: Right, I understand, do you have time to stop by DC?
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                The Reporter: Let me see if I can change flight.

                HALE: Please do and lemme know.


          27.   Each ofthe six classified documents that HALE printed on February 28,2014,

was later published by the Reporter's Online News Outlet.

          28.   HALE continued to print documents from his TOP SECRET computer unrelated

to his work as an NGA contractor that were later published by the Reporter's Online News

Outlet.


          29.   While employed as a cleared defense contractor for NGA,HALE printed from his

TOP SECRET computer 36 documents,including four duplicates. Nine documents related to

HALE's work at NGA,but 23 did not.

          30.   Ofthe 23 documents unrelated to his work that he printed at NGA,HALE

provided at least 17 to the Reporter and/or the Reporter's Online News Outlet, which published

the documents in whole or in part.

          31.   Eleven ofthe published documents were marked as SECRET or TOP SECRET

(the Classified Documents). Relevant original classification authorities have since determined

that the documents were correctly marked at the appropriate classification level at the time they

were printed, and that they remain classified at the same level today.

          32.   The table displayed on the next page lists the 23 printed documents, unrelated to

HALE's work at NGA,with the printjob numbers assigned by NGA,the dates of printing, initial

publication dates, and classifications:
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Document    NGA Print Job#          Date Printed        Date of Initial Publication     Classification
   A             lO&ll           February 28,2014              October 2015                SECRET
   B                12           February 28,2014              October 2015                SECRET

   C                13           February 28,2014              October 2015                SECRET
   D             14&15           February 28,2014              October 2015                SECRET

   E                16           February 28,2014              October 2015             TOP SECRET
   F                17           February 28,2014              October 2015                SECRET
   G                18              April 3, 2014                April 2015             TOP SECRET

   H                19             April 19,2014                    N/A                 TOP SECRET
   I                20             April 20,2014                August 2014                SECRET

   J                21             April 20,2014              December 2015                SECRET
   K                22             April 20,2014                 April 2015             TOP SECRET
   L             23&24             April 30,2014                  July 2014            UNCLASSIFIED

   M                25             May 14, 2014                 August 2014                SECRET

   N                26              May 14, 2014                August 2014            UNCLASSIFIED

  0                 27              May 15, 2014              December 2016            UNCLASSIFIED

   P                28              May 15, 2014              December 2016            UNCLASSIFIED

   Q                29              May 15, 2014              December 2016            UNCLASSIFIED

   R                30              May 15, 2014              December 2016            UNCLASSIFIED

   S                31              June 20,2014                    N/A                    SECRET
   T                32              June 27, 2014                   N/A                UNCLASSIFIED

   U                33              July 31,2014                    N/A                    SECRET

   V                34             August 5,2014                    N/A                    SECRET

   w             35&36             August 5,2014                    N/A                UNCLASSIFIED


          33.    The 11 Classified Documents that were published by the Reporter's Online News

  Outlet, and later in a book authored by the Reporter, are described in further detail below:

                •        DOCUMENT A - A PowerPoint presentation on
                         counterterrorism operations classified SECRET//SCI

                •        DOCUMENT B - A document describing a military
                         campaign targeting Al-Qaeda overseas classified SECRET

                •        DOCUMENT C - A March 2013 PowerPoint on military
                         operations classified SECRET

                •        DOCUMENT D - A PowerPoint presentation on
                         counterterrorism operations classified SECRET
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             •        DOCUMENT E - Information gathered by NSA on
                      specific named targets classified TOP SECRET

              •       DOCUMENT F - A PowerPoint slide outlining the effects
                      of the military campaign targeting Al-Qaeda overseas
                      classified SECRET


              •       DOCUMENT G - PowerPoint presentation outlining U.S.
                      military technical capabilities classified TOP SECRET

              •       DOCUMENT I - A report listing the accomplishments of
                      an intelligence agency tasked with preventing terrorist
                      attacks classified SECRET


              •       DOCUMENT J - A PowerPoint presentation classified
                      SECRET


              •       DOCUMENT K - An intelligence report on an Al-Qaeda
                      operative classified TOP SECRET

              •       DOCUMENT M - Information on the Terrorist Identities
                      Datamart Environment classified SECRET


       34.    HALE did not have a "need to know" the classified information contained in the

11 Classified Documents he printed.

       35.    All ofthe Classified Documents HALE printed bore standard markings indicating

they contained highly classified information ofthe United States, including SECRET,and TOP

SECRET,as well as SCI,,information.

       36.    At the time HALE obtained the documents, he knew that they had been or would

be obtained, taken, made, or disposed of unlawfully.

       37.    HALE was never authorized to remove the Classified Documents from NGA and

retain or transmit them, and neither the Reporter nor any ofthe employees at the Reporter's

Online News Outlet were entitled to receive or possess them.




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        38.    The documents provided to the Reporter by HALE and published by the

Reporter's Online News Outlet were compiled and published in a book authored by the Reporter

(Book 2).

E.      Evidence Stored In HALE's Home


        39.    On August 8,2014,HALE possessed Document T on his home computer. HALE

also possessed two thumb drives. The first thumb drive contained one page of Document A that

HALE had attempted to delete. This page was marked "SECRET." The second thumb drive

contained the "Tor" software and "Tails" operating system.

        40.   Tor and Tails were recommended by the Reporter's Online News Outlet in an

article published on the Reporter's Online News Outlet's website, which provided readers with

instructions on how to anonymously "leak" documents to the Reporter's Online News Outlet.

The article published by the Reporter's Online News Outlet explained that the Tor browser

allows users to anonymously surfthe web by "hiding your real IP address from the websites that

you visit. If your network is being monitored,the eavesdroppers will only know that you are

using Tor but not what you're doing." The article went on to explain that the Tails operating

system, which can be installed via a USB stick, will prevent someone who has hacked into your

computer from "spy[ing] on everything you do." It "strip[s] metadata from a variety oftypes of

documents...[and] leaves no traces that it was ever run on your computer."

        41.    On or about August 8, 2014, HALE's cell phone contact list included the contact

information for the Reporter.




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                                            COUNT 1
                 (18 U.S.C.§ 793(c)—Obtaining National Defense Information)

       THE GRAND JURY FURTHER CHARGES THAT:

       42.       The General Allegations within Paragraph 1 through 41 ofthis Indictment are re-

alleged and incorporated by reference.

       43.       Beginning on or about February 28, 2014, and continuing to on or about May 14,

2014,in the Eastern District of Virginia and elsewhere, the defendant, DANIEL EVERETTE

HALE,for the purpose of obtaining information respecting the national defense, unlawfully

obtained documents connected with the national defense, namely:

       Document         Date Printed        Date of Initial Publication    Classification

             A        February 28,2014               October 2015             SECRET

             B        February 28,2014               October 2015             SECRET

             C        February 28, 2014              October 2015             SECRET

             D        February 28, 2014              October 2015             SECRET

             E        February 28, 2014              October 2015          TOP SECRET

             F        February 28, 2014              October 2015             SECRET

             G           April 3,2014                 April 2015           TOP SECRET

             I          April 20,2014                August 2014              SECRET

             J          April 20,2014             December 2015               SECRET

             K          April 20,2014                 April 2015           TOP SECRET

             M          May 14,2014                  August 2014              SECRET


knowing and having reason to believe at the time he obtained Documents A-G,I-K, and M that

they had been or would be obtained, taken, made, or disposed of by any person contrary to the

provisions of Title 18, United States Code, Chapter 37.

       (In violation of Title 18, United States Code, Section 793(c).)




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                                             COUNT 2
    (18 U.S.C.§ 793(e)—Retention and Transmission of National Defense Information)

       THE GRAND JURY FURTHER CHARGES THAT:


       44.        The General Allegations within Paragraph 1 through 41 ofthis Indictment are

incorporated by reference.

       45.     Beginning on or about February 28, 2014, and continuing to on or about

December 17, 2015,in the Eastern District of Virginia and elsewhere, the defendant, DANIEL

EVERETTE HALE,having unauthorized possession of, access to, and control over the

following documents related to the national defense, willfully:(a)retained the documents and

failed to deliver them to the officer or employee ofthe United States entitled to receive them;

and(b)communicated, delivered, and transmitted such documents to a person not entitled to

receive them. Specifically, HALE retained the following documents relating to the national

defense, and transmitted them to the Reporter and/or the Reporter's Online News Outlet:

         Document          Date Printed      Date of Initial Publication   Classification
             A           February 28,2014             October 2015           SECRET
             B           February 28,2014             October 2015           SECRET

             C           February 28,2014             October 2015           SECRET

             D           February 28,2014             October 2015           SECRET
             E           February 28,2014             October 2015         TOP SECRET
             F           February 28,2014             October 2015           SECRET

             G              April 3, 2014              April 2015          TOP SECRET
              1            April 20, 2014             August 2014            SECRET

              J            April 20,2014           December 2015             SECRET

             K             April 20,2014               April 2015          TOP SECRET
             M             May 14,2014                August 2014            SECRET


       (In violation of Title 18, United States Code, Section 793(e).)




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                                             COUNT 3
   (18 U.S»C.§ 793(e)—Causing the Communication of National Defense Information)

       THE GRAND JURY FURTHER CHARGES THAT:


       46.        The General Allegations within Paragraph 1 through 41 ofthis Indictment are

incorporated by reference.

       47.        Beginning on or about February 28, 2014, and continuing to on or about

December 17, 2015,in the Eastern District of Virginia and elsewhere,the defendant, DANIEL

EVERETTE HALE,having unauthorized possession of, access to, and control over documents

related to the national defense ofthe United States, namely:

        Document           Date Printed      Date of Initial Publication   Classification
             A           February 28, 2014            October 2015            SECRET

             B           February 28, 2014            October 2015            SECRET

             C           February 28, 2014            October 2015            SECRET

             D           February 28, 2014            October 2015            SECRET

             E           February 28,2014             October 2015         TOP SECRET

             F           February 28,2014             October 2015            SECRET

             G              April 3, 2014              April 2015          TOP SECRET

              I            April 20,2014              August 2014             SECRET

              J            April 20,2014           December 2015              SECRET

             K             April 20, 2014              April 2015          TOP SECRET

             M             May 14, 2014               August 2014             SECRET


did willfully communicate, deliver, transmit and cause to be communicated, delivered, and

transmitted, and attempt to communicate, deliver and transmit and cause to be communicated,

delivered, and transmitted the same to persons not entitled to receive them,through the

publication, dissemination, and distribution to the general public of articles and books

concerning Classified Documents A-G,I-K, and M.

       (In violation of Title 18, United States Code, Section 793(e).)




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                                            COUNT 4
(18 U.S.C.§ 798(a)(3)—^Disclosure of Classified Communication Intelligence Information)

       THE GRAND JURY FURTHER CHARGES THAT:


       48.       The General Allegations within Paragraph 1 through 41 ofthis Indictment are

incorporated by reference.

       49.       Beginning on or about February 28,2014, and continuing to in or about October

2015, in the Eastern District of Virginia and elsewhere,the defendant, DANIEL EVERETTE

HALE,did willfully communicate,furnish, transmit, and otherwise make available to an

unauthorized person any classified information concerning the communication intelligence

activities ofthe United States, namely:

       Document         Date Printed        Date of Initial Publication      Classification
             A        February 28,2014               October 2015              SECRET
             D        February 28,2014               October 2015              SECRET
             E        February 28,2014               October 2015            TOP SECRET
             K        February 28,2014                April 2015             TOP SECRET


       (In violation of Title 18, United States Code, Sections 798(a)(3).)




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                                            COUNT 5
                       (18 U.S.C.§ 641—Theft of Government Property)

       THE GRAND JURY FURTHER CHARGES THAT:

       50.       The General Allegations within Paragraph 1 through 41 ofthis Indictment are

incorporated by reference.

       51.       Between on or about February 28,2014, and continuing to in or about December

2016,in the Eastern District of Virginia, and elsewhere,the defendant, DANIEL EVERETTE

HALE,did knowingly and unlawfully steal and convert to his own use or the use of another, and

without authority, conveyed and disposed ofrecords and things of value ofthe United States,

namely:

      Document          Date Printed       Date of Initial Publication     Classification
             A        February 28, 2014           October 2015               SECRET
             B        February 28, 2014           October 2015               SECRET
             C        February 28,2014            October 2015               SECRET
             D        February 28,2014            October 2015               SECRET
             E        February 28,2014            October 2015            TOP SECRET
             F        February 28, 2014           October 2015               SECRET
             G           April 3, 2014               April 2015           TOP SECRET
             I          April 20,2014             August 2014                SECRET

             J          April 20,2014           December 2015                SECRET

             K          April 20,2014              April 2015             TOP SECRET
             L          April 30,2014               July 2014             UNCLASSIFIED
             M          May 14,2014               August 2014                SECRET
             N          May 14,2014               August 2014             UNCLASSIFIED

             T          June 27,2014                   N/A                UNCLASSIFIED


The aggregate value of said records and things of value being more than $1,000.

       (All in violation of Title 18, United States Code, Section 641.)




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                                            FOREPERSON OF THE GRAND JURY



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   Eastern District of Virginia             National Security Division
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                                            National Security Division
                                            U.S. Department of Justice




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